

Matter of Callaghan (2024 NY Slip Op 04234)





Matter of Callaghan


2024 NY Slip Op 04234


Decided on August 15, 2024


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:August 15, 2024

PM-165-24
[*1]In the Matter of Thomas Anthony Callaghan, an Attorney. (Attorney Registration No. 1106137)

Calendar Date:August 12, 2024

Before:Clark, J.P., Pritzker, Ceresia, Fisher and McShan, JJ.

Thomas Anthony Callaghan, East Greenbush, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany (Alison M. Coan of counsel), for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Thomas Anthony Callaghan was admitted to practice by this Court in 1966 and lists a business address in East Greenbush with the Office of Court Administration. Callaghan now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Callaghan's application.
Upon reading Callaghan's affidavit sworn to June 13, 2024 and filed June 20, 2024, and upon reading the August 2, 2024 correspondence in response by the Deputy Chief Attorney for AGC, and having determined that Callaghan is eligible to resign for nondisciplinary reasons, we grant his application and accept his resignation.
Clark, J.P., Pritzker, Ceresia, Fisher and McShan, JJ., concur.
ORDERED that Thomas Anthony Callaghan's application for permission to resign is granted and his nondisciplinary resignation is accepted; and it is further
ORDERED that Thomas Anthony Callaghan's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Thomas Anthony Callaghan is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Callaghan is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold himself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Thomas Anthony Callaghan shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to him.








